Case 21-32351 Document 835-4 Filed in TXSB on 12/01/21 Page 1 of 2




                       PROPOSED ORDER
          Case 21-32351 Document 835-4 Filed in TXSB on 12/01/21 Page 2 of 2




                            IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE SOUTHERN DISTRICT OF TEXAS
                                       HOUSTON DIVISION

    IN RE:                                                   CHAPTER 11

    LIMETREE BAY SERVICES, LLC, et                           CASE NO.: 21-32351 (DRJ)
    al.,1
                                                             (Jointly Administered)
                 Debtors.

         ORDER GRANTING BAY LTD.’S EMERGENCY MOTION TO DELAY THE
           DECEMBER 7 SALE HEARING TO PERMIT LIMITED DISCOVERY
                              [Ref. Doc. No. ___]

           This matter coming before this Court upon the motion (the “Motion”)2 filed by Bay for entry

of an order (this “Order”) to delay the Sale Hearing scheduled for December 7, 2021 pending Bay’s

discovery requests which were made on November 30, 2021, as further described in the Motion; and

after due deliberation and sufficient cause appearing therefor,

            IT IS HEREBY ORDERED THAT:

            1.       The Sale Hearing scheduled for December 7, 2021 is postponed pending the

    Debtors’ response and compliance to Bay’s informal and formal discovery requests.

            2.       This Court shall retain jurisdiction to hear and determine all matters arising from

    or related to the implementation, interpretation, or enforcement of this Order.

    Dated: December __, 2021

                                                                _____________________________________
                                                                THE HONORABLE DAVID R. JONES
                                                                UNITED STATES BANKRUPTCY JUDGE


1
 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, as applicable, are: Limetree Bay Services, LLC (1866); Limetree Bay Refining Holdings, LLC (1776);
Limetree Bay Refining Holdings II, LLC (1815); Limetree Bay Refining, LLC (8671); Limetree Bay Refining
Operating, LLC (9067); Limetree Bay Refining Marketing, LLC (9222). The Debtors’ mailing address is Limetree
Bay Services, LLC, 11100 Brittmoore Park Drive, Houston, TX 77041.

2
    Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.
